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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division

GENERAL ELECTRIC COMPANY

       Plaintiff,

v.                                      Case No. 3:21-cv-00025-JAG

SIEMENS ENERGY, INC.

       Defendant.


     SIEMENS ENERGY, INC.’S (“SEI’S”) MEMORANDUM IN OPPOSITION TO
           PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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       GE’s motion concerns year-and-a-half-old pricing information that no one at SEI is using

because SEI has already taken steps to firewall relevant employees and remove the information at

issue from its files and systems. And despite GE’s feigned urgency, GE has known this for months.

Contrary to what its motion tries to convey, GE waited five months after becoming aware of this

issue, two months after learning of SEI’s actions to firewall employees, and over two weeks after

filing its complaint, before seeking this so-called “preliminary” injunction. Worse still, GE now

tries to claim “irreparable” injury based on a U.S. bid that was already submitted before it filed its

motion, and nascent European projects that involve different gas turbines than those ultimately

considered in the 2019 Dominion Peakers Project that gave rise to this case. For these reasons and

more, GE’s motion falls well short of the showing necessary to justify the extraordinary relief of

any preliminary injunction, much less the sweeping injunction GE demands.

       GE’s motion has nothing to do with any legitimate risk of irreparable harm, and instead

seeks to distract from business problems unrelated to SEI or the issues complained of here:

negative attention from a $200M penalty the U.S. Securities and Exchange Commission (“SEC”)

recently imposed after finding GE “misled investors” about the performance of the very same

power generation business at issue in this case. In fact, within days of filing its complaint, a J.P.

Morgan industry report noted glaring inconsistencies between what GE has been telling the

marketplace, what GE executives have been saying internally, and what GE is now saying here in

Court. Against this backdrop, GE seeks to exploit an already-remediated issue by demanding an

unprecedented injunction designed not to prevent any actual or threatened irreparable injury to

GE—but to impede Siemens Energy’s ability to compete in the gas turbine market far beyond

anything related to the alleged disclosure in this case. GE’s requested relief should be denied.




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                                       BACKGROUND 1

        GE does not and cannot claim that its motion turns on anything new, because SEI

discovered, disclosed, and remediated the underlying circumstances months ago.

        A.     SEI Discovers and Discloses the Dominion Matter to GE.

        In May and June 2019, SEI, GE, and Mitsubishi were bidding on a Dominion gas turbine

“peaker” project in Virginia—so named because the turbines were to be used for additional power

during periods of peak demand. SEI later discovered and ultimately determined in 2020 that after

initial bids were submitted on the Dominion Peakers Project, a Dominion employee named Ted

Fasca shared unsolicited information about competitors’ bids with an SEI employee named

Michael Hillen. SEI promptly retained an outside law firm to conduct a privileged internal

investigation of what occurred, and took extensive remedial measures: removing the information

at issue from its files and systems to ensure it could not be accessed or used by SEI personnel,

requiring additional training, ordering disciplinary action (including multiple terminations and

reassignments of other personnel), and out of an abundance of caution, firewalling individuals who

received the GE information at issue from working on new proposals, pricing, or customer

negotiations, as explained further below.

        Importantly, SEI also voluntarily notified both Dominion and GE of its discovery. SEI

first contacted its customer Dominion, whose employee had provided the information, and

Dominion requested the opportunity to conduct its investigation of the matter prior to any other

notifications. Once Dominion completed its investigation, SEI notified GE on August 28, 2020

that a “Dominion employee sent confidential GE information, including information pertaining to



1
  In support of its motion, SEI is submitting the Declaration of James Bedont (“Bedont Decl.”) and
the exhibits attached to the Declaration of Alexandra I. Russell (cited as “Ex. __”).

                                                2
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GE’s bid price, to a Siemens account manager [who] thereafter forwarded the information to other

Siemens employees who were involved in [SEI’s] bid preparation.” (GE Ex. 18.)

        B.     GE Sits on Its Hands for Months.

        For all of its current posturing, GE waited some seven weeks 2 to respond to SEI’s

notification—with a series of demands. (GE Ex. 19.) In its very next response, SEI assured GE

that “Siemens will not directly or indirectly use the GE Confidential Information for any purpose,”

described the firewall that SEI had already implemented, and explained the remediation process

used to remove the GE information at issue from SEI’s files and systems. (GE Ex. 21.) These

were more than adequate assurances with respect to information from GE’s Dominion Peakers

Project bid, which at that point had been submitted more than 16 months earlier.

        GE waited two weeks to respond. Then, for the first time, GE demanded in a November

17, 2020 letter that SEI restrict a wide swath of employees from work on “Dominion’s upcoming

RFP related to gas turbine equipment in South Carolina.” (GE Ex. 20.) On November 27, 2020,

SEI responded and specifically addressed the South Carolina RFP. (See Ex. 1.) As SEI explained,

“GE’s position seems to be based on a misconception regarding the disclosures made in the

Dominion Peakers Project . . . . As you will see, the GE Confidential Information is not a unitary

set and was not circulated in full to all employees that we identify as having received GE

Confidential Information.” (Id. at 1-2.) To make its point clearer, SEI provided a detailed

document-by-document list showing which turbine information was involved and a corresponding

log showing which individuals saw what. (See id. at Appendix B.) SEI also emphasized to GE



2
  Although GE claims that it did not receive SEI’s August 28, 2020 letter until mid-September
because of an email transmission error, GE admits that it learned of the matter from Dominion by
letter dated September 3, 2020 (and actually earlier, because Dominion’s General Counsel called
GE before that letter was sent).

                                                3
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that “[t]o the extent you have any outstanding concerns after you have reviewed those documents

we are willing to discuss this issue further.” (Id. at 2.)

        GE never responded. Instead, GE went silent for over eight weeks before eventually

launching a press campaign and filing its complaint on January 14, 2021—58 days after GE first

raised its supposed concerns about the South Carolina RFP. And GE delayed further still—waiting

until after bids for the South Carolina RFP were already submitted on January 19, 2021 before

filing this motion shortly before midnight on February 2, 2021.

        Only two things changed from the time GE learned of the events at issue to the date it filed

for a preliminary injunction. First, Mitsubishi (the other unsuccessful bidder on the ultimately-

canceled Dominion Peakers Project) filed a related lawsuit against SEI in the Middle District of

Florida based on the same underlying events and unsuccessfully sought a similar preliminary

injunction against SEI. The district court denied Mitsubishi’s motion and refused to enter an

injunction, concluding that Mitsubishi failed to identify a single future project in which it faced

irreparable harm in competing against SEI. (GE Ex. 9 at 10-11.) Second, J.P. Morgan issued an

analyst report calling out GE for significant inconsistencies between its allegations in this

complaint—including GE’s claims about supposed harm to its business—and GE’s prior

contradictory statements to shareholders and the public. Specifically, J.P. Morgan emphasized

that the SEC had imposed a $200 million penalty on GE stemming from its use of improper

accounting and efforts to “misle[a]d investors” about problems with its gas turbine business,

including evidence that GE’s own executives internally “questioned whether the GE Power

Services business model was economically viable” at all. (Ex. 2; see also Ex. 3 (Dec. 2020 SEC

Order).) Only in the wake of GE’s significant delay and unfavorable public attention on the

performance and management of its gas turbine business did GE shift gears and file this motion.



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       C.      The 2019 GE Information Primarily Concerns GE’s                    Turbine.

       The Dominion Peakers Project ultimately considered proposals from GE and SEI for what

are known as          turbines. For that reason, virtually all the information that the Dominion

employee sent to an SEI employee in 2019 related to GE’s proposed pricing on its             turbine.

Contrary to GE’s misleading contention that the Dominion disclosure provided numerous SEI

employees with confidential information about                    GE turbines, in reality only two

documents contained in the same email (see GE Ex. 23) concerned bid information for

turbines, and only two SEI employees, Michael Hillen and Mehran Sharifi, saw those documents. 3

These two key facts—that only two documents contained bid information concerning anything

other than        turbines, and that only two people at SEI saw them—are not news to GE. SEI

provided that information to GE on November 27, 2020. (See Ex. 1.)

       Moreover, GE never responded to SEI’s letter. If GE had responded or even picked up the

phone, GE could have asked about SEI’s voluntary firewalling measures that restricted those two

individuals—Hillen and Sharifi—from working on new proposals, pricing, or customer

negotiations not just for the F-class turbine in its Dominion Peakers Project bid (the SGT6-5000F),

but more broadly for the SGT6-8000H, SGT6-5000F, SGT-A65, SGT-800, and SGT6-2000e gas

turbines. (See Bedont Decl. ¶ 11-15.) And as SEI had already explained to GE at the time,

employees who saw bidding information about GE’s              turbine were and remain firewalled

from preparing bids involving SEI’s comparable SGT6-5000F turbine. GE’s attacks on the

sufficiency of SEI’s firewalling are baseless—and underscore that GE’s actual goal is to obtain a

tactical advantage over one of its few competitors in the gas turbine business.


3
  GE incorrectly identifies GE Exhibit 26 as a third document containing supposedly confidential
information about its              turbines. As explained below, however, that information is
actually available on GE’s own public website. See infra at 6.

                                                 5
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         D.       GE’s Alleged “Trade Secrets” Do Not Include Design Drawings or Anything
                  of the Sort—and Actually Include Publicly-Available Information.

         Apparently recognizing that its year-and-a-half-old 2019 pricing information has limited

competitive value—an element of both the federal Defend Trade Secrets Act (DTSA) and Virginia

Uniform Trade Secrets Act (VUTSA) claims—GE tries to paint its alleged trade secrets with a

broad brush, repeatedly calling them “confidential pricing and technical data.” For instance, GE

points the Court to a specific document from the Peakers Project and claims that it gave SEI access

to “

                                                                                       .” (Br. at 9,

citing GE Ex. 26.) Yet this so-called “                      ” for maintaining the “

                                                                   ”—and the technical information

accompanying it—is anything but confidential: it is readily available in identical form on GE’s

own public website. (See Ex. 4 (comparing GE Ex. 26 with SEI Ex. 5 (GE’s public website 4).)

         GE’s “                                      ” is neither a “                   ” nor a GE

trade secret. (See id.) Similarly, GE falsely portrays its                                        as

trade secrets provided to SEI. (Br. at 16.) But, yet again, those very same                  appear

on GE’s own public website. Compare GE Ex. 23 (                                          ) with SEI

Ex. 6 (7HA Fact Sheet 5 (listing identical CO emission level of 9 ppm)) and Ex. 7 (7F.04/7F.05

Fact Sheet 6 (same).) As its own documents reveal, GE’s alleged trade secrets are at best limited

to its 2019 bid pricing information and not the performance specifications of its gas turbines.


4
 Hyperlink to GE Website: Heavy-Duty Gas Turbine Operating And Maintenance Considerations
at 32.
5
    Hyperlink to GE Website: 7HA.01/.02 Gas Turbine Fact Sheet at 1.
6
    Hyperlink to GE Website: 7F.04/.05 Gas Turbine Fact Sheet at 1.

                                                 6
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       E.         The South Carolina, Belgium, and Italy RFPs.

       GE contends that relief is “urgently” needed because it “intends to compete” on

forthcoming RFPs in Belgium and Italy and because it recently submitted a bid in response to the

South Carolina RFP. (Br. at 3.) GE’s request is premised upon its inaccurate speculation that “the

same Siemens employees who unlawfully acquired, disseminated, analyzed, and used GE’s trade

secrets to improve Siemens’ gas turbine bids for more than a year are no doubt involved in crafting

Siemens’ responses to the Belgium, Italy, and South Carolina RFPs.” (Id.) GE’s assertions are

flat-out wrong.

       First, the SEI employees who received documents containing information about GE’s

                   turbine have already been firewalled from working on new proposals involving

SEI’s comparable SGT6-5000F turbine.

       Second, GE itself acknowledges that “

       ,” (Br. at 3), and Siemens Energy is not bidding its SGT6-5000F (or any other F-class

turbines) on the Belgium, Italy, or South Carolina RFPs.

       Third, Hillen and Sharifi—the only employees who received GE bid information about

products other than the                  turbine—have not participated and will not participate in

in the Belgium, Italy, or South Carolina RFPs. (See Bedont Decl. ¶¶ 23, 37-38.) They are not

working on new gas turbine proposals. (See id. ¶ 14.)

       Fourth, the opportunities that GE characterizes as the “Belgium RFP” and the “Italy RFP”

appear to consist of various potential projects—most of which are so preliminary that they have

not even resulted in the issuance of actual RFPs. GE’s brief and supporting declarations state that

GE intends to bid its                                                           to multiple power

developers including “                    ” in Belgium and “

                                  ” in Italy. (Br. at 14; Wilner Decl. ¶¶ 35, 37.) This amounts to

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nothing more than a laundry list of Belgian and Italian utility names. After being pressed by SEI’s

counsel for more specifics, GE provided only slightly more information about these purported

“projects.” 7 Of the five Belgium opportunities identified by GE’s counsel,




                                                                     . As for the purported Italian

projects, GE’s counsel identified a list of seven opportunities, however




                                                                                         . In short,

GE has simply failed to identify any projects in Belgium or Italy for which a bid from SEI is

imminent.

         Fifth, SEI’s bid in response to the South Carolina RFP—which has already been

submitted—was prepared after SEI took steps to remove the GE information at issue from its files

and systems, and after SEI implemented restrictions to prevent employees who received GE

information on the Dominion Peakers Project from working on future comparable projects as

described above. (See Bedont Decl. ¶ 22.)


7
  Following GE’s preliminary injunction motion, SEI’s counsel repeatedly asked for clarification
about the “Belgium RFP” and “Italy RFP” that GE had in mind, but repeatedly received incomplete
responses from GE’s counsel over several weeks. (Russell Decl. ¶ 14; Ex. 13.) On March 8, 2021
(the day before SEI’s opposition was due), GE provided a one-page spreadsheet listing opportunity
names, end customers, and “RFP issue or bid” dates—while refusing to provide copies of any
actual RFPs. That spreadsheet only confirms the problems with GE’s claim of imminent
irreparable harm. For example, the “bid due date[s]” listed in the spreadsheet for half of the
Belgium and Italy projects has already passed, in some cases months before GE filed this
lawsuit. The list contained in the spreadsheet also conflicts with some of the information described
by GE’s declarant. And GE’s spreadsheet makes passing reference to additional countries, but
none of them is discussed in GE’s preliminary injunction motion.

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       GE therefore has not identified a single project presenting a risk that any SEI personnel

who received GE information are working on upcoming bids that could benefit from that

information. GE’s fallback suggestion that there could be follow-up questions from customers

later is speculative—and does not change the relevant points above.

       F.      Bid Information Cannot Be “Extrapolated” Between Turbines.

       Because GE knows that only two SEI employees saw confidential information about

        GE turbines, and no SEI personnel working on the South Carolina RFP, Belgian projects,

or Italian projects received any GE information about the turbines involved in those projects, GE

resorts to a speculative “extrapolation” theory that fails to withstand even minimal scrutiny. GE’s

declarant summarily asserts that SEI personnel might “extrapolate” GE’s confidential information

from one turbine to “strategically guess the technical capacities of, or pricing for, other models,”

and develop “‘informed’ inferences” that “could even inform Siemens’ assessment of GE’s

expected bids for different gas turbines or entirely different turbine classes or categories.” (Young

Decl. ¶ 39 (emphasis on rank speculation added).) But GE’s own description of its alleged trade

secrets undermines its “extrapolation” theory by underscoring how the pricing and technical

capabilities of different turbine models vary dramatically from one model to the next.

                                           As shown in GE’s Exhibit 23 at left, the only

                                     performance specifications on turbine models that are similar

                                     are the

                                                                                                 and

                                     the

                                                                            . But those numbers are

                                     not confidential at all—GE publishes them on its public

website. (See SEI Ex. 6 (7HA Fact Sheet (listing CO of 9 ppm)); Ex. 7 (7F.04/7F.05 Fact Sheet

                                                 9
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(same)); Ex. 8 (LM6000 Fact Sheet 8 (listing NOx at 25 ppm)); Ex. 9 (LMS100 Fact Sheet 9

(same)).) None of the other numbers are even remotely similar or suggest any relationship across

models. (See GE Ex. 23 (showing dollars-per-kilowatt amounts of

                                                ).)

         GE’s motion thus rests on the conclusory assertion by one of its declarants that one might

“extrapolate” confidential information from one turbine to “guess” the pricing or capabilities of

other engines in formulating bids. (Young Decl. ¶ 39.) That assertion overlooks both the

differences between turbine classes and the unique nature of individual gas turbine projects that

objectively undermine such a theory, as well as the fact that the two employees who saw

information about other models are not working on new gas turbine proposals at all.

         •   Aeroderivative turbines are based on different technology than light industrial turbines,
             which in turn are different than heavy-duty gas turbines. (See Bedont Decl. ¶¶ 97-100.)

         •   Within these types of turbines, there are different “classes” of turbine, generally based
             on size and efficiency. Even within each class of turbine, there are different models,
             which can vary widely in terms of size, output, efficiency—and cost. (See id. ¶¶ 109-
             115.)

         •   Performance specifications vary so widely between different types of gas turbines that
             information on one type does not translate to others. For example, both aeroderivative
             and F-class gas turbines produce carbon monoxide (CO). But knowing a CO emissions
             level for an F-class project—where published CO emissions generally range under 10
             ppm—does not tell you what CO emissions level to bid on an aeroderivative project,
             where published CO emissions are 80 ppm or more. (See id. ¶ 103.)

         •   Equipment pricing is also too dissimilar to provide any useful comparison across
             turbines. While simple division can be used to calculate a $/kw figure for any turbine,
             that calculation provides no strategic value across turbine classes, because prices per
             kilowatt for aeroderivatives are significantly higher compared to heavy-duty gas
             turbines. Knowing that a competitor bid                                  would provide



8
    Hyperlink to GE Website: LMS6000 Fact Sheet at 1.
9
    Hyperlink to GE Website: LMS100 Fact Sheet at 1.

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           no help in determining whether to bid an aeroderivative at $290 or $300 or $310/kw.
           (See id. ¶¶ 104-108.)

The same goes for service contracts.

       •   Aeroderivative turbines are designed to be high cycle machines, meaning they are
           stopped and started regularly. For that reason, maintenance intervals (and thus service
           cost information) for these turbines are usually tied to the number of planned starts.
           (See id. ¶ 106.)

       •   In contrast, F-class turbines are heavy-duty machines that run for longer periods of time
           with fewer stops and starts. For that reason, maintenance intervals for F-class turbines
           are usually tied to the number of hours that the machine is running. (See id. ¶ 99, 100-
           108.)

       Finally, GE’s “extrapolation” theory of misappropriation fails to consider that in certain

countries, key bidding information is “laid open” as a matter of course, thus revealing exactly what

each competitor proposed. Indeed, even in the United States, some public utilities allow bidding

information to be obtained through public records requests, especially after the procurement

process is completed. (See Bedont Decl. ¶ 120.) The fact that these bids are accessible—with full

performance specifications and pricing data available to see—means that even if GE could build

its case on speculative “extrapolation,” publicly-available information from one engine model

would likewise permit “strategic guessing” about other engine models. Thus, GE’s extrapolation

theory fails even on its own terms because the same “extrapolation” could be performed using

publicly-available information, which unravels any trade secrets claim based on strategic guessing.

                                       LEGAL STANDARD

       “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). A plaintiff has the burden to establish that

(1) it is likely to succeed on the merits, (2) it is likely to suffer irreparable harm in the absence of

preliminary relief, (3) the balance of the equities tips in its favor, and (4) an injunction is in the




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public interest. 10 See id. at 20. Importantly, “each of these four factors must be satisfied to obtain

preliminary injunctive relief.” Henderson for Nat’l Labor Rel. Bd. v. Bluefield Hosp. Co., LLC,

902 F.3d 432, 439 (4th Cir. 2018) (citing Winter, 555 U.S. at 23-24) (bold emphasis added). It is

“unnecessary to address all four factors when one or more ha[s] not been satisfied.” Id.

                                           ARGUMENT

       GE fails to meet the requirements necessary to obtain the extraordinary remedy of

preliminary injunctive relief. First, GE cannot establish a likelihood of success on the merits

because it cannot demonstrate that an injunction is necessary to prevent any actual or threatened

misappropriation. Second, GE has not shown that it will face immediate and irreparable injury

absent the sweeping injunction it seeks. GE’s speculative theory of harm—that it will lose future

bids due to alleged ongoing use of its 2019 Dominion Peakers Project bid information—ignores

the remedial measures that SEI has already undertaken to moot GE’s concerns and inflates the

significance of dated bidding information on a now-canceled project from May and June of 2019.

Third, the balance of equities weighs heavily against GE’s position because the sweeping

injunction it seeks would impede SEI’s ability to complete and submit upcoming bids on different

projects involving different products. GE’s requested injunction would restrict SEI from using its

personnel without regard to who-saw-what—in other words, GE seeks to sideline SEI personnel

regardless of whether an individual actually reviewed information about a particular GE turbine

model, what level of information the person reviewed, and whether that information was actually

a trade secret or publicly available. Fourth, GE’s proposed injunction will harm the public interest

by restraining one of its few competitors in what is already a concentrated market with a handful


10
   As explained below in Section II.A., GE incorrectly asserts that a showing of irreparable harm
is not required to obtain a preliminary injunction on its VUTSA trade secrets claim. That argument
misstates Fourth Circuit precedent and should be rejected.

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of bidders. Finally, the scope of GE’s proposed injunction is impermissibly overbroad and fails

to address GE’s mandatory bond-posting requirement.

I.     GE IS NOT LIKELY TO SUCCEED ON THE MERITS OF ITS CLAIMS.

       To succeed on the merits of its trade secret claims, GE must demonstrate that an injunction

is necessary to “prevent any actual or threatened misappropriation.” 18 U.S.C. § 1836(b)(3)(A)(i)

(emphasis added); see also Va. Code Ann. § 59.1-337 (“Actual or threatened misappropriation

may be enjoined.”). GE’s discussion of the likelihood of success on the merits focuses on alleged

misappropriation in the past—on the now-cancelled Dominion Peakers Project followed by the

Florida Power and Light (“FPL”) Crist Peakers Project that GE ultimately won. (Br. at 19-20).

But “injury caused by past conduct does not justify the extraordinary remedy of a preliminary

injunction[].” Adalis Corp. v. Forbo Adhesives, LLC, 2007 WL 673764, at *4 (M.D.N.C. Feb. 27,

2007); Uncle B’s Bakery, Inc. v. O’Rourke, 920 F. Supp. 1405, 1436-37 (N.D. Iowa 1996);

Buckingham Corp. v. Karp, 762 F.2d 257, 260-63 (2d Cir. 1985). An injunction is not necessary

to prevent any “actual or threatened misappropriation” on past projects, especially when there is

no future work to be done by SEI on those projects because the Dominion Peakers Project was

cancelled for unrelated market and supply reasons (see Bedont Decl. ¶ 7), and GE won the FPL

Crist Peakers Project.

       GE also has not demonstrated that an injunction is necessary to prevent any threat of “actual

or ongoing misappropriation” concerning the South Carolina RFP or potential opportunities in

Belgium and Italy.       Instead, GE relies on the sort of speculative theory of threatened

misappropriation that courts routinely deny as a basis for injunctive relief. See, e.g., Faiveley

Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 119-20 (2d Cir. 2009) (refusing to grant

preliminary injunction as a “precautionary measure” despite past misappropriation). GE’s only

basis for its argument that SEI “threatens” to misappropriate trade secrets in the “imminent future”

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is speculation that SEI’s firewall “leaves dozens of employees with knowledge of GE’s Trade

Secrets able to participate in future RFPs for which the Trade Secrets clearly would benefit

Siemens at GE’s expense.” (Br. at 20 (emphasis added).) GE does not—and cannot—argue that

SEI threatens to use documents containing its trade secrets because the information has been

removed from SEI’s files and systems. Instead, GE focuses on mere allegations of prior exposure

to trade secrets, which is not a viable theory of misappropriation under Virginia law and the DTSA.

See Motion Control Sys., Inc. v. East, 546 S.E.2d 424, 426 (Va. 2001) (“Mere knowledge of trade

secrets is insufficient to support an injunction under the terms of [the VUTSA].”); see also Gov’t

Tech. Servs., Inc. v. Intellisys Tech. Corp., 51 Va. Cir. 55, 55 (1999) (“Virginia does not recognize

the inevitable disclosure doctrine.”); 18 U.S.C. § 1836(b)(3)(A) (precluding injunctive relief under

the DTSA “merely on the information the person knows”).

       Moreover, SEI has barred employees who have seen information about GE’s

turbine from working on future          projects. Only two employees (Hillen and Sharifi) received

information about GE’s                                turbines, and they are not working on any new

bids for any class or model of gas turbine. Courts have denied requests for preliminary injunctive

relief where, as is the case here, a defendant has already taken significant remedial measures to

prevent future harm. See, e.g., Chateau Hip, Inc. v. Gilhuly, 1996 WL 437929, at *3 (S.D.N.Y.

Aug. 2, 1996) (denying preliminary injunction because “defendants have stipulated to cease any

allegedly wrongful use of” trade secret and trademark); Ben E. Keith, Co. v. Dining All., Inc., 2020

WL 8300513, at *2 (N.D. Tex. Dec. 10, 2020) (denying preliminary injunction because “defendant

has agreed” to stop using trade secrets and “the court has no reason to believe that it will not

comply with its agreement”).




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        One of GE’s declarants nevertheless suggests that an SEI employee who has information

about GE’s                  could “extrapolate” that information to “strategically guess” technical

capacity and pricing for other models in GE’s                                product lines. (Young

Decl. ¶¶ 39-42.) That is incorrect. Information about GE’s              turbine from the Dominion

Peakers Project is irrelevant to the South Carolina, Belgium, and Italy projects, which do not

involve F-class turbines at all. (See Bedont Decl. ¶¶ 26; 38-52; 59-93.) Indeed, GE’s own alleged

trade secrets show that the technical and pricing information for its         model is dramatically

different than for its                                models. (GE Ex. 23.) The only performance

specifications that are similar are publicly available emissions numbers. See supra at 6.

        GE’s alleged “threat” of future misappropriation is thus based on a series of erroneous

assumptions: that year-and-a-half old information about GE’s             turbine may be relevant to

upcoming projects despite rapidly evolving turbine technology and pricing strategies; that year-

and-a-half old information for GE’s           turbine in the context of a “peaker” project may be

relevant to non-peaker projects that involve GE’s aeroderivative turbines; that an SEI employee

who saw information about GE’s            turbine may remember the detailed technical and pricing

information a year and a half later; and that the employee may “extrapolate” that information to

“strategically guess” technical and pricing information for other projects. GE’s speculative

allegations of threatened misappropriation fail to demonstrate a likelihood of success on the merits.

II.     GE CANNOT DEMONSTRATE AN IMMINENT RISK OF IRREPARABLE
        HARM.

        GE also cannot show that it is “likely to suffer irreparable harm in the absence of

preliminary relief.” Winter, 555 U.S. at 20. First, despite being on notice of the Dominion

disclosure for months, and despite raising supposed concerns about the South Carolina RFP as

early as November 2020, GE waited and waited to request a preliminary injunction, which is strong


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evidence that its alleged injuries are neither imminent nor irreparable. Second, GE’s theory of

harm is entirely speculative and therefore does not justify the extraordinary remedy of a

preliminary injunction. GE cannot establish an imminent threat that SEI will use GE’s bid

information to compete against it unfairly because SEI has already firewalled the relevant

employees from using the GE information at issue, it has already taken steps to remove that

information from its files and systems, and indeed, GE did not even file its motion until after the

South Carolina RFP bids were already submitted. Third, GE cannot establish irreparable harm

because its own declarant has already attempted to quantify the alleged harm that serves as the

basis for GE’s preliminary injunction motion, thus contradicting any claim that equitable relief is

required even under its overall theory of the case.

       A.      Both the DTSA Claim and the VUTSA Claim Require a Likelihood of
               Irreparable Harm to Support a Preliminary Injunction.

       GE agrees that it must demonstrate a likelihood of irreparable harm to obtain a preliminary

injunction under its DTSA claim. But it argues that state law does not require irreparable harm to

obtain an injunction under the VUTSA. (Br. at 15.) GE’s argument ignores settled Fourth Circuit

precedent.

       The Fourth Circuit has expressly held that plaintiffs must meet the irreparable harm

requirement regardless of whether the underlying claim is based on the federal DTSA or the state

VUTSA. In Capital Tool and Manufacturing Co., Inc. v. Maschinenfabrik Herkules, 837 F.2d 171

(4th Cir. 1988), the plaintiff argued that “[i]rreparable injury is not a prerequisite for preliminary

injunctive relief when a complainant invokes the Virginia Trade Secrets Act,” and that, “[w]here

an injunction explicitly authorized by state law is sought in a diversity case … state standards

governing the issuance of preliminary injunctions [should] be followed.” Id. at 172. The Fourth

Circuit rejected both points, emphasizing that the “difficulty with [the plaintiff’s] argument lies in


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its failure to appreciate the difference between final and preliminary injunctions.” Id. A court

may grant “a final injunction to enforce the [Virginia Trade Secrets Act] without requiring proof

of irreparable harm” where “the complainant proved a statutory violation after a full trial on the

merits.” Id. (emphasis added). But in deciding whether to grant a preliminary injunction, “a

district court must balance the hardship the parties will suffer pending trial” in accordance with

federal law standards. Id. The Fourth Circuit thus upheld the district court’s decision to deny the

requested preliminary injunction because the plaintiff “would suffer no irreparable injury if an

injunction were withheld until the close of the trial.” Id. at 173.

       Every other federal court of appeals that has considered the issue agrees with the Fourth

Circuit’s conclusion that plaintiffs must meet federal law standards––including the irreparable

harm requirement––when seeking a preliminary injunction in federal court, regardless of whether

the underlying claim is based on federal law (like the DTSA) or state law (like the VUTSA). See,

e.g., S. Milk Sales, Inc. v. Martin, 924 F.2d 98, 101-02 (6th Cir. 1991); Instant Air Freight Co. v.

C.F. Air Freight, Inc., 882 F.2d 797, 799 (3d Cir. 1989); Gen. Elec. Co. v. Am. Wholesale Co., 235

F.2d 606, 608 (7th Cir. 1956). 11 That conclusion comports with basic Erie principles, which

require federal courts to apply federal procedural rules even when the underlying claim is one of

state law. See Southern Milk, 924 F.2d at 102 (holding that the standard for issuing preliminary

injunctions “is procedural”).

       In any event, GE would have to demonstrate irreparable harm even if the Court were to

follow the standard for preliminary injunctions under Virginia law. Capital Tool is crystal clear:


11
  So do the vast majority of district courts. See, e.g., Arminius Schleifmittel GmbH v. Design
Indus., Inc., 2007 WL 534573, at *2 (M.D.N.C. Feb. 15, 2007); Viad Corp. v. Cordial, 299 F.
Supp. 2d 466, 475 (W.D. Pa. 2003); John Paul Mitchell Sys. v. Quality King Distribs., Inc., 106 F.
Supp. 2d 462, 478 (S.D.N.Y. 2000); Ram Prods. Co., Inc. v. Chauncey, 967 F. Supp. 1071, 1082
(N.D. Ind. 1997); Uncle B’s Bakery, Inc. v. O’Rourke, 920 F. Supp. 1405, 1422 (N.D. Iowa 1996).

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“[T]here is no great difference between federal and Virginia standards for preliminary injunctions.

… Virginia Code § 8.01-628 provides: ‘No temporary injunction shall be awarded unless the court

shall be satisfied of the plaintiff’s equity.’ This requires the court to examine the plaintiff’s right

and the existence of impending irreparable injury.” 837 F.2d at 173.

       GE points to two district court cases to support its contention that “irreparable injury is not

even required once a VUTSA violation has been established.” (Br. at 20 (citing Salient CRGT,

Inc. v. Sols. by Design II, LLC, 2020 WL 3550008, at *7 (E.D. Va. Apr. 2, 2020); Peraton, Inc. v.

Raytheon Co., 2017 WL 11501665, at *4 (E.D. Va. Nov. 7, 2017).) SEI respectfully submits that

the Court should disregard those cases as wrongly decided, especially when neither of them is

binding here, and both conflict with Fourth Circuit precedent. The Peraton decision mistakenly

relied on the prefatory language in Capital Tool referring to permanent injunctive relief, for which

the Fourth Circuit unsurprisingly said that “a complainant need not allege or prove irreparable

harm when it involves a statute that authorizes injunctive relief. All that need be proved is a

violation of the statute.” Peraton, 2017 WL 11501665, at *4 (quoting Capital Tool, 837 F.2d at

172). Peraton then ignored the next two paragraphs and actual holding in Capital Tool that

rejected the very argument GE makes here and required irreparable injury for a preliminary

injunction. See id. In other words, Peraton overlooked the critical distinction between permanent

and preliminary injunctions at the core of the Fourth Circuit’s Capital Tool decision, and GE’s

reliance thereon is questionable at best. See id. The Salient decision, in turn, simply followed the

error in Peraton and its flawed reading of Capital Tool. See Salient, 2020 WL 3550008, at *7.

       B.      GE’s Delay in Seeking a Preliminary Injunction Is Fatal to Its Claim of
               Irreparable Harm.

       GE’s failure to seek a preliminary injunction until now confirms there is no imminent risk

of irreparable harm. It is black letter law that a plaintiff’s delay in seeking injunctive relief is


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strong evidence that there is no risk of irreparable harm in the absence of an injunction. See, e.g.,

Quince Orchard Valley Citizens Ass’n, Inc. v. Hodel, 872 F.2d 75, 79-80 (4th Cir. 1989)

(emphasizing that “delay in seeking relief indicates that speedy action is not required” (citation

and internal quotation marks omitted)); Magnussen Furniture, Inc. v. Collezione Europa USA,

Inc., 116 F.3d 472, 472 n.6 (4th Cir. 1997) (table).

       SEI told GE on August 28, 2020 that it obtained GE’s bid information from the Dominion

Peakers Project. (GE Ex. 18.) GE does not deny that it also learned of the matter from Dominion

by September 3, 2020. (Compl. ¶ 103.) But GE waited over seven weeks before contacting SEI.

(GE Ex. 19 at 1.) SEI promptly responded to GE, including a November 27, 2020 letter addressing

GE’s demands. (See Ex. 1.) In its communication, SEI specifically addressed the South Carolina

project, stating that it believed its current firewall was “appropriate and is fully responsive to GE’s

concerns” while inviting a further discussion “to the extent any concerns relating to the South

Carolina project remain[] unresolved.” (Id. at 2.) GE chose not to seek additional information or

respond in any way. Nor did GE raise any concerns about projects in Belgium or Italy. Instead,

GE cut off communications, went totally silent, and then waited another eight weeks after its last

letter before filing its complaint on January 14, 2021. 12 In the days that followed, GE and SEI

discussed a confidentiality agreement and GE agreed to extend SEI’s answer date to March 1st—

all the while without seeking expedited relief. Not until February 1, 2021 did GE seek an

injunction––over four and a half months after it first learned that a Dominion employee had shared

GE’s bid information with SEI, more than two months since last communicating with SEI




12
  GE’s agenda here is also notable: although it didn’t contact SEI in any way for eight weeks
about its alleged claims or impending complaint, it did take the time to plan a press campaign
highlighting its allegations that coincided with its filing.

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regarding the remedial measures that GE now seeks to challenge, and after the South Carolina bid

had already been submitted.

       If GE’s need for relief is as “urgent” as it claims (Br. at 24), then GE would have filed its

injunction request months ago. GE claims that “losing any one of [the upcoming] projects,”—

including the South Carolina, Belgium, and Italy projects—“could negatively impact GE’s

reputation among customers, investors, and market analysts.” (Id.) But GE’s delay in requesting

an injunction flatly contradicts its claims of urgency, as the parties have already submitted bids for

the South Carolina RFP, and the Belgium and Italy “RFPs” are in reality largely preliminary

potential opportunities that may or may not materialize depending on later decisions by

government regulators. See Kreuger Int’l, Inc. v. Nightingale Inc., 915 F. Supp. 595, 613

(S.D.N.Y. 1996) (Sotomayor, J.) (“I decline to manufacture a sense of urgency that is not supported

by plaintiff’s own conduct.”).

       GE offers no explanation for its delay. In contrast, Mitsubishi, which also filed a trade

secret case against SEI based on the Dominion Peakers disclosure, sought (unsuccessfully) a

preliminary injunction on October 6, 2020––nearly four months before GE. (GE Ex. 3.) GE itself

has argued as a litigant in other cases—including in this very District—that “delays of as little as

two months are fatal to a preliminary injunction request.” GE Opp’n to Mot. for Prelim. Inj. at 22,

Hill-Rom Co. v. Gen. Elec. Co., No. 2:14-cv-187 [Dkt. 40] (E.D. Va. June 23, 2014). Other courts

have reached similar conclusions. See generally Novozymes A/S v. Danisco A/S, 2010 WL

3783682, at *4 (W.D. Wis. Sept. 24, 2010) (finding that patentee’s two-month delay in seeking

preliminary injunction further showed it would not suffer irreparable harm).

       C.      GE’s Theory of Harm Is Speculative.

       GE claims that, in the absence of an injunction, it will suffer from lost business

opportunities, lost market share, and damage to its reputation. But mere speculation about

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potential losses and potential reputational harm does not support the extraordinary remedy of a

preliminary injunction before a full evidentiary record is developed and a trial on the merits. A

“preliminary injunction will not be issued simply to prevent the possibility of some remote future

injury.” Winter, 555 U.S. at 22 (citation and internal quotation marks omitted). The alleged injury

“must be neither remote nor speculative, but actual and imminent.”          Direx Israel, Ltd. v.

Breakthrough Med. Corp., 952 F.3d 802, 812 (4th Cir. 1991) (internal quotation marks omitted).

       To succeed on its irreparable harm claim, GE must show that it faces imminent harm that

SEI will use alleged trade secrets to compete against GE for the South Carolina RFP as well as the

Belgium and Italy opportunities—the only upcoming projects identified in GE’s motion. GE

cannot make that showing here.

       First, as to the South Carolina opportunity, that ship has sailed: bids were submitted on

January 19, almost two weeks before GE filed its motion. Harm cannot be deemed imminent based

on events that have already passed. See Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 210-11

(1995). Second, GE points to no evidence that any SEI employees who received its confidential

information worked (or will work) on the South Carolina RFP or any potential opportunities that

GE identified in Belgium and Italy. Nor could GE do so, given the extensive firewalling that SEI

has in place. GE’s theory of harm is based on the erroneous assumption that individuals who saw

information about a particular GE turbine are working on projects involving SEI turbines

comparable to GE’s. As GE would have known had it raised that question in the parties’

communications in November 2020, SEI barred employees who received information about GE’s

                model from working on bids involving SEI’s corresponding SGT6-5000F model,

and the only two employees who saw bid information about other GE turbines, Hillen and Sharifi,

are not working on any new gas turbine bids whatsoever for SEI.



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       GE’s own papers underscore why the extensive remedial measures that SEI has already

undertaken are more than sufficient to protect GE from future harm. GE’s papers refer only to

bidding its                                       turbine models in response to the South Carolina

RFP and the Belgium and Italy opportunities. (Br. at 14-15.) As explained above, only two SEI

employees received any GE bid information concerning those models. Neither of them is working

on any new gas turbine bids for any class or model of turbine, and they have no role in working

on the South Carolina RFP or the Belgium and Italy opportunities identified in GE’s motion.

       GE has known for months that no SEI employees other than Hillen and Sharifi received

information regarding GE’s                           . But even if other SEI employees had received

information about GE’s                           —which they did not—GE provides no basis for

its speculation that those individuals would somehow remember GE’s Dominion Peakers Project

pricing and technical information––which GE insists remains “in their heads” (Br. at 25 n.8)––a

year and a half after the disclosure. 13 Even if those employees remembered that information, GE

cannot demonstrate that the information would be useful for future projects. As the Dominion

employee who provided the information stated at the time: “These numbers are all preliminary as

we still need to dig further to figure out how to get all these numbers on the same playing field so

we compare apples to apples.” (Ex. 10.) 14 The fact that this “preliminary” information couldn’t

be used to make an “apples to apples” comparison between GE and SEI’s offerings even for the

Dominion Peakers Project bid itself undercuts GE’s contention that such information would be



13
  As discussed above in Section I, “[m]ere knowledge of trade secrets is insufficient to support an
injunction under the terms of [the VUTSA].” Motion Control, 546 S.E.2d at 426.
14
  GE’s Exhibit 23 contained redactions that SEI had supplied as part of its voluntary disclosure to
GE in the fall of 2020. SEI’s Exhibit 10 is the same email without redactions, except for a line
referring to bidding information from Mitsubishi.

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useful for completely different projects because, among other reasons, those projects involve

different requirements and performance specifications.

        Even apart from the differences between the Dominion Peakers Project and the upcoming

projects that GE identifies in its motion, the year-and-a-half-old age of the information itself

defeats GE’s arguments. See Abrasic 90 Inc. v. Weldcote Metals, Inc., 364 F. Supp. 3d 888, 903

(N.D. Ill. 2019) (“[T]he information at issue is already many months old and becomes increasingly

stale and less valuable as market conditions, prices, and profit margins change and industry

relationships evolve.”). As GE acknowledges, gas turbine technology and pricing strategies

change rapidly. (See Wilner Decl. ¶ 7.)

        GE’s conjecture about reputational harm is even more speculative, because it requires

showing that SEI will use GE’s alleged trade secrets, that SEI will win bids that GE otherwise

would have won, and that GE’s loss of that business will cause its reputation among “customers,

investors, and market analysts” to suffer as a result. See, e.g., Va. Carolina Tools, Inc. v. Int’l Tool

Supply, Inc., 984 F.2d 113, 120 (4th Cir. 1993) (affirming district court’s denial of injunction

where plaintiffs’ alleged injury to reputation was “highly speculative”). That theory fails at the

starting block because, as explained above, GE has failed to identify a single future project where

SEI is actually threatening to use GE trade secrets.

        GE offers even less support for its speculation that SEI will win enough bids through the

use of GE’s trade secrets to meaningfully shift market share calculations to such an extent that it

would harm GE’s reputation. Indeed, GE claims that it has lost at least eight other projects to SEI

since May 2019. But the very same industry publication that GE cites in its papers, the 2020

McCoy Report, actually shows that GE’s market share increased throughout 2020 and that it

remains the dominant market leader. (Compare Ex. 11, McCoy Report 3M 2020 with Ex. 12,



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McCoy Report 12M 2020.) And given that GE was just weeks earlier found by the SEC to have

misled the market about the performance of its gas turbine business (to the tune of agreeing to a

$200 million penalty), GE cannot credibly argue that reputational harm supports injunctive relief.

        D.        GE’s Claim for Alleged Monetary Damages Underscores That There Is No
                  Risk of Irreparable Harm Supporting Preliminary Injunctive Relief.

        GE has not demonstrated irreparable harm because any alleged harm that GE will suffer

during the pendency of the litigation, if actually proven, can be addressed through monetary

damages. “Where the harm suffered by the moving party may be compensated by an award of

money damages at judgment, courts generally have refused to find that harm irreparable.” Hughes

Network Sys., Inc. v. InterDigital Commc’ns Corp., 17 F.3d 691, 694 (4th Cir. 1994); see also

Sampson v. Murray, 415 U.S. 61, 90 (1974) (“The possibility that adequate compensatory or other

corrective relief will be available at a later date, in the ordinary course of litigation, weighs heavily

against a claim of irreparable harm.”). “[L]ost business opportunities” and “lost market share” are

just different ways of GE alleging it will lose bids and potential profit. That in and of itself is

highly speculative—GE might win the bids, after all. Moreover, GE’s irreparable harm argument

is belied by the fact that its own declarant actually quantifies its alleged harm. (See Wilner Decl.

¶¶ 23, 34, 39.)

III.    THE BALANCE OF THE EQUITIES WEIGHS AGAINST INJUNCTIVE
        RELIEF.

        As explained above, GE will not suffer any irreparable harm absent an injunction.

Conceding that its proposed relief is likely to harm SEI, GE resorts to dismissing such harm as a

“self-inflicted injury” that cannot “tip the equities in [a defendant’s] favor.” (Br. at 26.) Yet again,

GE gets the law wrong. The Fourth Circuit has expressly held that “it is error for a district court

to conclude that any harm that would be suffered by a defendant was self-inflicted and thus entitled

to lesser weight in the balancing-of-the-harms portion of the preliminary injunction calculus.”

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Scotts Co. v. United Indus. Corp., 315 F.3d 264, 285 (4th Cir. 2002). That is because the balance-

of-the-harms inquiry assesses “the degree of harm that will be suffered by the plaintiff or the

defendant if the injunction is improperly granted or denied.” Id. at 284 (emphasis in original).

“By dismissing outright or giving less weight to the harm that would be suffered by a defendant

on the grounds that the harm was self-inflicted, a court is effectively considering the harms that

would flow from a properly entered injunction (that is, an injunction entered against a defendant

who would go on to lose) rather than considering the harms that would flow from an injunction

entered in error (an injunction entered against a defendant who would go on to win).” Id. at 285

(emphasis added); see also Steves & Sons, Inc. v. JELD-WEN, Inc., 345 F. Supp. 3d 614, 658 (E.D.

Va. 2018) (vacated in part on other grounds); Signature Flight Support Corp. v. Landow Aviation

Ltd. P’ship, 2009 WL 111603, at *7 (E.D. Va. Jan. 14, 2009).

       GE’s cited authorities are inapposite. In Arminius Schleifmittel GmbH v. Design Indus.,

Inc., 2007 WL 534573 (M.D.N.C. Feb. 15, 2007), the district court noted that the requested

injunction would not deprive the defendants of using their “own skills and talents in the

marketplace.” Id. at *7. But GE’s proposed injunction does just that––attempting to preclude

scores of SEI employees from using skills and talents that have nothing to do with GE’s trade

secrets, in connection with projects that have no relationship to anything they may have seen

concerning GE’s Dominion Peakers Project bid information. Likewise, in WHIC LLC v. NextGen

Laboratories, Inc., 341 F. Supp. 3d 1147 (D. Haw. 2018), the district court enjoined a defendant

from servicing customers, but only those acquired through the misappropriation of trade secrets.

See id. at 1167-68. But as explained above, GE’s proposed injunction is far broader, and the

Dominion Peakers Project was canceled for unrelated market and supply reasons. (See Bedont

Decl. ¶ 7.) And in Brightview Grp., LP v. Teeters, 441 F. Supp. 3d 115 (D. Md. 2020), the plaintiff



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sought to enjoin defendants “from accessing, using, disclosing, or disseminating” its trade secrets.

Id. at 143. But GE is not seeking an injunction that simply prevents SEI employees from using

GE’s trade secrets. GE instead seeks to gain an unfair competitive advantage by barring any SEI

employee who had access to GE’s confidential information from working on any bid involving an

expansive equipment scope (including F-class, H-class, or aeroderivative turbines or any later-

developed models with comparable outputs), even though all but two of those employees received

information concerning only GE’s                      engine, and SEI removed the information from

its files and systems. GE’s showing is far weaker than in any of the cases upon which it relies.

IV.    A PRELIMINARY INJUNCTION IS NOT IN THE PUBLIC INTEREST.

       Granting a preliminary injunction would also disserve the public interest by restricting one

of GE’s few competitors from using its personnel to bid on different projects involving different

products in different locations. Trade secret protection reflects a balancing of social and economic

interests, recognizing that overprotecting alleged intellectual property is just as harmful as under-

protecting it given the risk of unduly impacting a defendant’s ability to compete. For this reason,

courts have long made clear that “trade secret protection should not extend beyond the limits

needed to protect genuine trade secrets.” Am. Can Co. v. Mansukhani, 742 F.2d 314, 329 (7th Cir.

1984). Yet GE’s proposed injunction would do precisely that. GE seeks to bar scores of SEI

employees from using public information and their own experience and knowledge (separate and

apart from any GE confidential information) in dozens of projects, and without regard to what

specific information any individual may have seen. Trade secret law should not “stifle legitimate

competition by prohibiting competitors from using their own” independent knowledge, skill, and

experience. Id. Nor should it stifle competition by precluding a defendant from “engaging in

lawful business.” ExamWorks, LLC v. Baldini, 835 F. App’x 251, 252 (9th Cir. 2020).



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       GE’s sweeping proposed injunction would harm not only SEI but also its gas turbine

customers and the public at large. GE’s own complaint acknowledges that the gas turbine market

has only a handful of competitors. (Compl. ¶¶ 31-32.) For some projects, GE and SEI are the

only competitive bidders. By restricting SEI’s ability to use its personnel—who do not have access

to any GE trade secrets—in bidding on future projects, the preliminary injunction would deny the

marketplace of the benefits of competition and could result in power plant customers (and

ultimately consumers who use gas turbine power) paying more than they otherwise would. See

Direx Israel, Ltd., 952 F.2d at 819 (noting “public interest in free competition”); CDI Energy

Servs. v. W. River Pumps, Inc., 567 F.3d 398, 403 (8th Cir. 2009) (denying injunction that “would

be detrimental to the customers/clients”); Vienna Beef, Ltd. v. Red Hot Chi., Inc., 833 F. Supp. 2d

870, 877 (N.D. Ill. 2011) (denying injunction because “it would curtail commercial competition”);

Graham Webb Int’l v. Helene Curtis, Inc., 17 F. Supp. 2d 919, 931 (D. Minn. 1998) (same). Far

from “leveling the playing field” or “restor[ing] fair competition” (Br. at 28), GE’s injunction

would give GE an unfair advantage by restricting one of its few competitors in the marketplace.

V.     GE’S REQUESTED INJUNCTION IS FACIALLY OVERBROAD.

       GE’s proposed injunction also should be denied because it goes well beyond what is

“necessary to provide complete relief” to GE for its trade secret claims even under its overall

theory of the case. Kentuckians for the Commonwealth, Inc. v. Rivenburgh, 317 F.3d 425, 436

(4th Cir. 2003). Both Article III and established principles of equity require that injunctive relief

is “limited to the inadequacy that produced the injury in fact that the plaintiff has established.”

Gill v. Whitford, 138 S. Ct. 1916, 1931 (2018) (quoting Lewis v. Casey, 518 U.S. 343, 357 (1996)).

Injunctions must be no broader than “necessary to provide complete relief to the plaintiffs.”

Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994).



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       GE’s requested injunction seeks to restrict SEI’s ability to compete on different projects

involving different turbine models without considering the scope of the potential harm at issue.

Specifically, GE’s proposed injunction would restrict any employees who “had access to” 15

alleged trade secrets involving any gas turbine model from working on future projects “related to”

the equipment and services at issue in GE’s Dominion Peakers Project bid, as well as all projects

on which SEI is bidding its “SGT6-8000H, SGT6-5000F, SGT6-A65, SGT-800, or SGT6-2000e

gas turbine units”—including “later-developed models of comparable outputs” through June 2023.

(GE Proposed Order at 5.)

       GE’s broadly-worded injunction would sideline SEI employees from working on future

gas turbine projects irrespective of whether an individual actually reviewed information about a

particular GE turbine model, the level of information reviewed, and whether that information was

actually a trade secret or publicly available. SEI has firewalled all employees who saw information

about GE’s                             model from working on new projects involving SEI’s

corresponding SGT6-5000F model, and has firewalled the only two employees who saw

information about GE’s                                models from bidding on projects involving

those models as well. An employee who only saw alleged trade secrets regarding GE’s

       should not be barred from working on projects involving entirely different products—such

as GE’s                           models. But that is precisely what GE seeks.

       GE’s requested injunction is also not defined with the requisite specificity. Although GE’s

proposed order describes five specific models—the SGT6-5000F, SGT6-8000H, SGT-A65

(misnamed in GE’s papers as the “SGT6-A65”), SGT-800, and SGT6-2000E—it also seeks to


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  Notably, GE’s requested injunction would go beyond employees who previously “accessed” GE
information, and is also broader than a typical preliminary injunction that would prevent
employees only from “accessing” that information in the future following an injunction.

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restrict work on future projects “related to” the equipment and services at issue in GE’s Dominion

Peakers Project bid, and then goes further still by covering “later-developed models of comparable

outputs.” (GE Proposed Order at 5.) While GE no doubt requested this language to benefit from

the ambiguity it would create and thereby obtain an unfair competitive advantage against SEI, it

conflicts with the settled principle that an injunction must be clear in what it does and does not

prohibit. 16 See Schmidt v. Lessard, 414 U.S. 473, 476 (1974); Fed. R. Civ. P 65(d)(1)(B)

(injunction “must … state its terms specifically”). Moreoever, GE’s proposed injunction would

apply to any projects where SEI is proposing one of the turbines identified in the proposed

injunction, without regard to facts such as whether the project is a peakers project like the

Dominion Peakers Project, or whether the project is in a jurisdiction that uses open bidding

processes in which competitors are intentionally informed of everyone else’s bidding information.

Beyond GE’s failure to meet the standard for a preliminary injunction, preventing SEI employees

from working on all future projects without regard to these and other distinctions overreaches.

GE’s proposed injunction does not “carefully address only the circumstances in the case”—which

alone shows why it should not be entered. PBM Prods., LLC v. Mead Johnson & Co., 639 F.3d

111, 128 (4th Cir. 2011).

VI.    GE IS REQUIRED TO POST A BOND.

       GE’s proposed order ignores settled law by seeking interim, business-altering relief

without requiring GE to post a bond. Rule 65(c) is unambiguous: “The court may issue a

preliminary injunction or a temporary restraining order only if the movant gives security in an



 For example, SEI’s newest flagship model, the SGT5-9000HL, is a new class of turbine with a
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maximum output of 593 MW—24% higher than the SGT6-8000H’s 450 MW output. (Bedont
Decl. ¶ 134.) It is a brand-new product that has no “comparable output” to anything that GE or
SEI proposed on the Dominion Peakers Project.

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amount that the court considers proper to pay the costs and damages sustained by any party found

to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). GE makes passing

reference to this requirement in its proposed order, suggesting that because the proposed injunction

“will pose no hardship, burden, costs, or risk of harm to Siemens … GE will not be required to

provide security pursuant to Fed. R. Civ. P. 65(c).” (GE Proposed Order at 6.) No such exception

exists under Rule 65, and the Fourth Circuit has squarely held that the “[f]ailure to require a bond

before granting preliminary injunctive relief is reversible error.” District 17, United Mine Workers

of Am. v. A&M Trucking, Inc., 991 F.2d 108, 110 (4th Cir. 1993).

       There are sound reasons for the bond requirement. Courts recognize that an erroneously

granted injunction can impose significant harm on the defendant. The bond therefore provides

compensation for a defendant that has been wrongfully enjoined. See W.R. Grace & Co. v. Local

Union 759, 461 U.S. 757, 770 n.14 (1983) (“A party injured by the issuance of an injunction later

determined to be erroneous has no action for damages in the absence of a bond.”). The bond

requirement also deters rash applications for preliminary injunctions and ensures that parties only

ask for such extraordinary relief when they have a strong basis for doing so—and are willing to

back it up if they are wrong. See Edgar v. MITE Corp., 457 U.S. 624, 649 (1982).

       GE all but ignores the bond requirement because it is well aware that the financial impact

to SEI of an improperly-entered injunction—and thus, the required bond—would be in the

hundreds of millions of dollars. The Court should deny the injunction motion, but if one were to

issue, the Court should require that GE post a substantial bond.

                                         CONCLUSION

       For the foregoing reasons, GE’s Motion for a Preliminary Injunction should be denied.




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Dated: March 9, 2021                     Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that on the 9th day of March 2021, I electronically

filed the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to all counsel of record.

                                                   /s/Heidi E. Siegmund
